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                     The motion for reconsideration is DENIED, and this case remains closed. Plaintiff did not raise any
                     new issue on reconsideration which the Court did not consider in its prior order of dismissal. The
                     Court certifies, under 28 U.S.C. § 1915(a)(3), that any appeal from this Order or the Order of
                     Dismissal (Dkt. No. 6) would not be taken in good faith and therefore in forma pauperis status is
                     denied for the purpose of any appeal. See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).
                     The Clerk of Court is respectfully directed to close Dkt. No. 9, and to mail a copy of this Order to pro
                     se Plaintiff.

                     Dated: September 9, 2019
                             New York, New York
USDC SDNY
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DATE FILED: 9/9/2019
